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                       EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION
            ____________________________________

            EMMA KOE, individually and on        )
            behalf of her minor daughter, AMY    )
            KOE; HAILEY MOE, individually        )
            and on behalf of her minor daughter, )           Civil Action No.
            TORI MOE; PAUL VOE; ANNA             )           1:23-cv-02904-SEG
            ZOE, individually and on behalf of   )
            her minor daughter, LISA ZOE;        )
            TRANSPARENT, on behalf of its        )
            members,                             )
                                                 )
                              Plaintiffs,        )
                                                 )
                  v.                             )
                                                 )
            CAYLEE NOGGLE, in her official )
            capacity as Commissioner of the      )
            Georgia Department of Community )
            Health; GEORGIA DEPARTMENT )
            OF COMMUNITY HEALTH’S                )
            BOARD OF COMMUNITY                   )
            HEALTH; NORMAN BOYD,                 )
            ROBERT S. COWLES III, DAVID )
            CREWS, RUSSELL                       )
            CRUTCHFIELD,                         )
            ROGER FOLSOM, NELVA LEE,             )
            MARK SHANE MOBLEY,                   )
            CYNTHIA RUCKER, ANTHONY )
            WILLIAMSON, in their official        )
            capacities as members of the Georgia )
            Department of Community Health’s )
            Board of Community Health;           )
            THE GEORGIA COMPOSITE                )
            MEDICAL BOARD; JOHN S.               )
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            SUBRAHMANYA BHAT,                     )
            WILLIAM BOSTOCK, KATHRYN )
            CHEEK, RUTHIE CRIDER,                 )
            DEBI DALTON, CHARMAINE                )
            FAUCHER, AUSTIN FLINT,                )
            SREENIVASULU GANGASANI, )
            JUDY GARDNER, ALEXANDER S. )
            GROSS, CHARLES E. HARRIS, JR., )
            J. JEFFREY MARSHALL,                  )
            MATTHEW W. NORMAN,                    )
            BARBY J. SIMMONS, in their            )
            official capacities as members of the )
            Georgia Composite Medical Board; )
            DANIEL DORSEY, in his official        )
            capacity as the Executive Director of )
            the Georgia Composite Medical         )
            Board,                                )
                                                  )
                                 Defendants.      )


                                          DECLARATION OF NANCY DOE

            I, Nancy Doe, 1 hereby declare and state as follows:

                 1. I am over the age of eighteen, of sound mind, and in all respects competent

                     to testify. I have personal knowledge of the information contained in this

                     Declaration and would testify completely to those facts if called to do so.



            1
              Because of concerns about my child’s privacy and safety, I am seeking to proceed
            in this case under a pseudonym. See Motion to Proceed Pseudonymously, filed
            concurrently herewith. In addition, contemporaneous with signing this declaration,
            I have signed with my legal name a separate copy of this declaration. My attorneys
            have a copy of that separate declaration.

                                                             2
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                 2. My child, Linda Doe, is a 10-year-old transgender girl who lives with me in

                     Richmond Hill, Georgia.

                 3. When Linda was 4 years old and attending daycare she started expressing a

                     preference for “girl’s” clothing. I provided her with such clothing which she

                     started consistently wearing at home.

                 4. When Linda was 7, she started telling her classmates that she was 1/2 boy

                     and 1/2 girl. She told me that God had put her “in the wrong body.”

                 5. I discussed with the administration at Linda’s school various issues that the

                     administration had noticed and heard from Linda and other students. My

                     decision was to support Linda, allow her to wear gender conforming

                     clothing at school, and for the school to make a note that Linda was

                     identifying as female.

                 6. The next school year, per Linda’s request, which I supported, she began

                     going by the name Linda at school.

                 7. Linda has socially transitioned, adopting a “girl’s” hairstyle and clothing

                     along with exclusively using the name Linda and female pronouns.

                 8. Linda is much happier since socially transitioning. Although she still faces

                     bullying and teasing at school, she is confident in who she is and

                     consistently expresses herself and identifies as female.


                                                             3
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                 9. Linda has been diagnosed with gender dysphoria and has received care from

                     her pediatrician and a counselor who specializes in gender dysphoria.

                 10.I have discussed with both parties Linda’s long term treatment and care

                     plans. In conjunction with their advice, we have determined the next step for

                     Linda is to begin puberty blockers. Since Linda is 10 years old, I understand

                     the onset of puberty could begin at any time.

                 11. We are continuing to monitor when puberty-blocking medication will be

                     appropriate for Linda, after which it is anticipated she will undergo hormone

                     therapy. The effect of Georgia’s legislative ban, however, would prevent

                     Linda from having the option for hormone therapy.

                 12. I want Linda to continue to develop with all the benefits of medically

                     necessary healthcare as soon as I and her providers feel it is appropriate.

                 13.Unless the ban under S.B. 140 is enjoined, it will have devastating physical

                     and psychological consequences for Linda. Further, it will deprive me of the

                     ability to pursue the safe and effective course of care my daughter needs.

                 I declare under penalty of perjury that the foregoing is true and correct.

                 Executed this 5th day of July 2023.


                                                             _________________________________
                                                             Nancy Doe


                                                               4
